                Case 01-01139-AMC            Doc 22814        Filed 08/14/09       Page 1 of 5




                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                   Chapter 11

W.R. GRACE & CO., et al.,                                Case No. 01-01139 (JKF)
                                                         (Jointly Administered)
                         Debtors.
                                                        Ref. No. 21544


                LIBBY CLAIMANTS’ NOTICE OF FILING TRANSCRIPT AND
                        DEPOSITION EXCERPT DESIGNATIONS

         The claimants injured by exposure to asbestos from the Debtors’ operations in Lincoln

County, Montana (the “Libby Claimants”),
                            1 by and through their counsel, Cohn Whitesell &

Goldberg LLP and Landis Rath & Cobb LLP, hereby designate the attached excerpts from the

the following deposition and trial transcripts, together with any pertinent exhibits thereto, which

may be offered in evidence in connection with the Phase II Confirmation Hearing in this matter,

pursuant to Rule 32 of the Federal Rules of Civil Procedure:

         Mary Ruth Albert: 11:25-12:15; 13:10-22; 14:9-17:1; 19:1-20:18; 21:20-22:3; 22:21-24;
            23:8-24:24; 25:16-30:5; 31:17-32:14; 38:13-42:25; 46:19-50:18.
           Albert v. WR. Grace, et at., Cause No. DV-97-87. 8/26/99 (Attached as Exhibit 1).

         Stuart Cannon: 26:11-27:10; 32:25-35:13; 63:3-15; 88:2-89:10; 99:3-101:16.
            Cannon v. W.R. Grace, et at., Cause No. DV-96-11. 8/23/99 (Attached as Exhibit
            2).

         Edward Nick Carvey: 20:24-22:1; 23:14-28:1; 43:7-46:9; 49:21-50:3.
            Carvey v. WR. Grace, et at., Cause No. CV-98-142-M-DWM and CV-99-104-M-
            LBE. 12/15/99 (Attached as Exhibit 3).

         Carl E. Craig: 37:12-19; 38:15-20; 40:6-21; 41:9-42:20; 45:20-49:4; 49:19-51:7; 52:1-
            53:16; 54:7-56:13; 58:18-59: 14; 60:1-61:7; 67:6-16; 77:4-79:9; 9 1:2-92:2.
             Craig v. WR. Grace, et at., Cause No. 97-153. 08/24/99 (Attached as Exhibit 4).




   As identified in the Amended and Restated Verified Statement of Cohn Whitesell & Goldberg LLP and Landis
Rath & Cobb LLP Pursuant to Fed. R. Bankr. P. 2019 [D.I. 227841, as it may be amended and restated from time to
time.


{393OO1-W0002148. }
               Case 01-01139-AMC      Doc 22814     Filed 08/14/09    Page 2 of 5




        Carrie M. Dedrick: 16:7-25; 19:8-23; 24: 14-25:25: 36:12-38:8; 44:16-45:1; 45:17-46:2;
           46:14-16; 47:10-15; 57: 19-22: 74:18-75:25; 78:3-20.
           Dedrick i’. WR. Grace, et a!., Cause No. DV-99-124. 06/26/00 (Attached as Exhibit
           5).

        Kenneth Finstad: 17:11-21:21; 50:1-52:13; 54:13-56:6; &92:23-94:24.
           Finstad v. WR. Grace ci’ a!, Cause No. DV-98-139, 3/22/99 (Attached as Exhibit 6).

        Daniel Garrison, Sr.: 5:17-8:21; 10:3-15:1; 109:21-110:2; 111:5-114:18; 116:9-20.
           Garrison v. W.R. Grace, ci’ at., Cause No. DV-98-132. 02/28/00 (Attached as
           Exhibit 7).

        Edward A. Gaston: 6:9-8:21; 19:16-18; 24:12-14; 24:22-26:2; 27:6-20; 28:7-14; 29:24-
           31:3; 31:14-32:22; 33:5-21; 34:6-12; 37:5-38:21; 44:3-45:17; 58:16-60:1.
           Gaston v. W.R. Grace, et a!., Cause No. DV-98-142. 03/22/99 (Attached as Exhibit
           8).

        Robert L. Graham: 8:14-17; 69:24-72:8; 10:17-11:1; 13:3-14:18.
           Graham i’. W.R. Grace, ci’ a!., Cause No. DV-97-50. 09/05/97 (Attached as Exhibit
           9).

        William J. Hagerty: 17:17-18:1; 20:10-16; 21:8-15; 22:10-26:17; 27:4-25; 29:2-31:21;
           37:6-42:10.
           Hagertv i’. W.R. Grace, et at., Cause No. 99-116-M-DMW. 01/12/00 (Attached as
           Exhibit 10).

        James G. Hopkins: 11:11-15:21; 32:7-13; 59:9-60:22; 62: 12-17; 63:9-16; 67:14-69:2;
           79:11-81:18; 82:21-83:13; 112:20-113:18.
           Hopkins v. W.R. Grace, et al., Cause No. DV-99-1 13. 02/24/00 (Attached as
           Exhibit 11).

        Jack Kenworthy: 4:24-5:20; 8:14-9:16; 10:10-24; 11:8-12:15; 13: 10-18:15; 18:24-20:9;
            26:13-16; 27:20-28:24.
            Kenworthy v. WR. Grace, et a!., Cause No. DV-99-185. 12-17-99 (Exh. 12)

        Carl Larson: 15:3-17:18;21:7-28:ll;35:3-40:18;48:6-20;49:25-58:23;61:9-14.
           Larson v. W.R. Grace et a!, Cause No. DV-98-83, 1/12/99. (Attached as Exhibit 13).

        John B. Lyle: 30:3-7; 34:22-38:25; 39:23-42:3; 68:12-72:6; 73:19-74:4; 75:11-77:23;
           81:18-84:5; 86:22-87:12.
           Lyle v. W.R. Grace, ci’ a!., Cause No. DV-95-29. 02/03/98 (Attached as Exhibit 14).




                                               2
{393OO1-W0002148.}
               Case 01-01139-AMC      Doc 22814     Filed 08/14/09    Page 3 of 5




        Thomas F. Murray: 23:10-25:13;27:9-29:15;30:8-31:4;34:14-36:23;45:11-46:16;50:1-
           25; 52:1-54:6.
           Murray v. W.R. Grace, et al., Cause No. CV-98-141-M-DWM and CV-99-103-M-
           DWM. 10/18/99 (Attached as Exhibit 15).

        Robert D. Nelson: 6:18-22; 7:19-8:8; 11:23-12:17; 43:20-44:3; 45:1-10; 46:9-47:13;
           49:8-50:10;51:23-53:15;60:17-61:11;61:25-62:15.
           Nelson v. W.R. Grace, et al., Cause No. DV-98-107. 12/09/99 (Attached as Exhibit
           16).

        Darlene J. (Toni) Riley: 15:16-18; 32:9-23; 58:1-11; 59:15-60:6; 61:23-64:14; 84:23-
           86:24; 88:5-24.
           Riley v. W.R. Grace, et aL, Cause No. DV-96-1 11. 12/10/96 (Attached as Exhibit
           17).

        WilmaR. Shearer: 20:15-25; 21:14-22:5; 23:5-13; 26:3-14; 28:12-29:18; 31:6-17; 56:10-
           58:3; 100:18-102:4; 102:18-103:7; 110:5-113:12; 113:24-114:11.
           Shearer v. W.R. Grace, et a!., Cause No. DV-97- 140. 02/04/98 (Attached as Exhibit
           18).

        Verle Vinson: 11:2-7; 13:24-15:22; 16:2-13; 18:12-24; 21:13-22:4; 26:12-28:24; 28:25-
           30:7; 32:5-18; 37:5-39:13; 45:17-46:9.
           Vinson v. W.R. Grace et al, Cause Nos. CV-98-113/CV-99-68, 12-15-99 (Attached
           as Exhibit 19).

        Robert J. Wilkes: 14:6-18; 16:22-18:5; 20:13-15; 21:15-19; 22:3-10; 23:23-27:2; 29:20-
           36:2;37:11-18;49:13-19;51:8-25;55:7-56:13.
           Wilkes v. W.R. Grace, et al., Cause No. DV-96-60. 12/15/99 (Attached as Exhibit
           20).

        Andrew J. Wright: 6:7-25; 11:14-24: 16.
           Nelson & Ryan v. W.R. Grace, et a!., Cause No. DV-98-107 and No. DV-98-100.
           12/16/99 (Attached as Exhibit 21).

        Dr. Suresh Moolgavkar: 90:25--95:22.
            In re WR. Grace & Co., et al, Debtors, Case No. 01-01 139(JKF), 5-26-09 (Aftached
        as Exhibit 22).

        John Parker, M.D.: 121:2--126:21.
           In re W.R. Grace & Co., et a!, Debtors, Case No. 01-01139(JKF), 6-9-09. (Attached
           as Exhibit 23).

        Peter Van N. Lockwood: See marked designations;
            In re W.R. Grace & C’o., et a!, Debtors, Case No. 01-01139(JKF), 5-1 and 5-4-09
            (Attached as Exhibit 24).



                                              3
{393.OO1WOOO2l48.}
               Case 01-01139-AMC                Doc 22814      Filed 08/14/09      Page 4 of 5




        Earl Lovick: Excerpts from transcripts of prior testimony of Earl Lovick, deceased:

                    a.       Earl Lovick trial testimony, August 23, 1990, Johnson v. Grace, U. S.
                    District Court, for the District of Montana, Cause No. 88-145-M-HP; p. 39, 1. 7           -




                    p. 40, 1. 24; p. 42, 1. 8 16; p. 43, 1. 4-p. 48, 1. 4; p. 48, 1. 19- p. 68, 1. 1; p. 70, 1.
                                            -




                    18 p. 94, 1. 7; p. 95, 1. 3 p. 97, 1. 15 (Attached as Exhibit 25).
                         -                      -




                    b.      Earl Lovick deposition, December 19, 1996, Hurlbert, Skrarnstad,
                    Kaeding, Riley v. Grace, Montana Nineteenth Judicial District Court, Lincoln
                    County, Montana, Cause Nos. DV95-109, DV-95.. 127, DV-96-71, DV-96-1 11.
                    Entire deposition; pp 1 -287 (Attached as Exhibit 26).

                    c.      Earl Lovick trial testimony, April 29, 1997, Dan Schnetter v. Grace,
                    Nineteenth Judicial District Court, Lincoln County, Montana, Cause No. CDV-
                    94-74, including exhibits; p. 25 222 (Attached as Exhibit 27).
                                                        —




Estimation Trial Transcript:

                    a.       January 14, 2008 pp. 15-16, 27, 37-51, 94, 104, 107, 113-20, 127-28,
                                                    —




                             131-32, 138-40. March 31, 2008—pp. 10-13, 25, 35.

                    b.       March 24, 2008, testimony of Dr. Peter Lees at pp. 11-79.

                    c.       March 26, 2008, testimony of Dr. Elizabeth Anderson at pp. 33-4 1,
                             48- 114.

Criminal Trial Excerpt:

                    February 23, 2009, United States v. W. R. Grace Company et al., Cause No. CR
                    05—7-M-DWM, U. S. District Coiurt for the District of Montana (Missoula
                    Division), pp. 112-113.

        The Libby Claimants reserve the right to supplement these designations following receipt

of any Counter-Designations. The Libby Claimants further reserve the right to use any part of

the Deposition Transcript, even if it is not designated, for the purpose of contradicting or

impeaching testimony given by the deponent as a witness.




                                                        4
393001 -W0002148.
               Case 01-01139-AMC   Doc 22814       Filed 08/14/09   Page 5 of 5




Dated: August 14, 2009                 LANDIS RATH & COBB LLP
       Wilmington, Delaware

                                                         /

                                       Adam G. Landis (No. 3407)
                                       Kern K. Mumford (No. 4186)
                                       919 Market Street, Suite 1800
                                       Wilmington, DE 19801
                                       Telephone: (302) 467-4400
                                       Facsimile: (302) 467-4450

                                               -   and   -




                                       Daniel C. Cohn
                                       Christopher M. Candon
                                       COHN WHITESELL & GOLDBERG LLP
                                       101 Arch Street
                                       Boston, MA 02110
                                       Telephone: (617) 951-2505
                                       Facsimile: (617) 951-0679

                                       Counsel for Libby Claimants




                                         5
{393OOl-W0002148.}
